Case 2:05-cr-20242-.]PI\/| Document 19 Filed 09/02/05 Page 1 of 2 Page|Dly
M___ D.C.

FRED BV v,
IN THE UNITED STATES DISTR_ICT COURT

 

FoR THE wESTERN DISTRICT oF TENNESSEE _ z
WESTERN DIVISION 95 SEP 2 F" 5 29
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UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 05-20242-Ml

GENO BROWNLEE

Defendant(s)

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for a Report Date on Thursday, September l, 2005
at 10:30 a.m. Counsel for the defendant requested a continuance of the
present setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for a Report
Date to Friday, October 28, 2005 at 9:00 a.m. with a trial date of
Monday, November 7, 2005.

The period from September 16, 2005 through November 18, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

IT rs so oRDERED this the a? day of september, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

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UNITED sTATE ISTRIC COURT - W"'RTE D'S'TRCT OFTENNESSEE

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case 2:05-CR-20242 Was distributed by faX, mail, or direct printing on
September 6, 2005 tc the parties listed.

 

 

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Honcrable Jon McCalla
US DISTRICT COURT

